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Timothy C. Leventry, Esq.
1397 Eisenhower Boulevard
Richland Square IJ, Suite 202
Johnstown, PA 15904

Re: Fee Schedule
Dear Mr. Leventry:

This correspondence is written to your recent inquiry regarding our fee schedule.
Please be advised that our firm consists of eight attorneys with our practice being located mainly
in the Cambria-Somerset Counties area. Our firm provides services in almost all areas of the law
except criminal matters and our rates vary between $150.00 to $200.00 depending on the
attorney performing said services.

I would note that, as you know, we have an extensive bankruptcy practice
whereby we represent debtors, creditors, as well as the Trustee in Chapter 7 matters and ali of
those fees must be approved by the Court and are charged at a rate of $200.00 per hour. Should
you be in need of any further information concerning our rates, please advise.

Thank you.
Very tfuly yours,
L Ab |. Novak
DJN:ms
Leventry Letter 09.05.07
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GLEASON, MCQUILLAN
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September 5, 2007

Leventry, Haschak & Rodkey, LLC
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Richland Square III, Suite 202
Johnstown, PA 15904

To Whom It May Concern:

The undersigned is a general partner in the law firm of Gleason, McQuillan, Barbin &
Markovitz, LLP. I have been requested by Tim Leventry to review the hourly charges made by
the attorneys in the undersigned law firm.

Please understand that, because of the tremendous disparity in the work performed,
certain attorneys charge a lump sum fee based upon the service that is being provided.

It would be suffice to say, those attorneys in this office that have more than ten (10)
years’ experience in the practice of law, charge a minimum of $175.00 per hour, and, in certain
circumstances, charge as much as $225.00 per hour.

Thank you.
Very truly yours,
GLEASON, McQUILLAN,
BARBIN & MARKOVITZ, LLP
By: “a. a wie. 7 a
Myron I. MplkKovitz, Esquire
MIM/mlc

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